EXHIBIT “B”
                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                          Chapter 7

AKORN HOLDING COMPANY LLC, et                                   Case No. 23-10253 (KBO)
al.11,
                                                                (Jointly Administered)
                       Debtors.
                                                                Re D.I. ___106


ORDER (A) APPROVING THE SALE OF SUBSTANTIALLY ALL CERTAIN OF THE
   ESTATES’ ASSETS (SPECIFIC “ANDAs” and SHARES) TO SENTISS AG or its
    ASSIGNS, (B) AUTHORIZING THE ASSUMPTION AND ASSIGNMENT OF
EXECUTORY CONTRACTS AND UNEXPIRED LEASESB) APPROVING THE ASSET
 AND SHARE PURCHASE AGREEMENT BETWEEN THE TRUSTEE AND SENTISS
           AG, AND (C) GRANTING CERTAIN RELATED RELIEF


         This matter is before the Court on the Trustee’s Motion for Entry of (I) an Order (A)

Approving Bidding Procedures in Connection With Sale of Substantially all of the Estates’ Assets,

(B) Scheduling an Auction and Hearing to Consider the Proposed Sale and (C) Approving the

Form and Manner of Notice Thereof; and (II) an Order (A) Approving the Sale, (B) Authorizing

the Assumption and Assignment of Executory Contracts and Unexpired Leases, and (C) Granting

Certain Related Relief (the “Sale Motion”)[D.I. __],2 seeking, among other things: (a) approval of

the asset purchase agreements 106].2 The Court granted, in part, the relief sought in the Sale



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  The Debtors in these chapter 7 cases, along with the last four digits of their federal tax identification numbers, and
cases numbers are Akorn Holding Company LLC (9190), Case No. 23-10253 (KBO); Akorn Intermediate Company
LLC (6123), Case No. 23-10254 (KBO); and Akorn Operating Company LLC (6184), Case No. 23- 10255. The
Debtors’ headquarters is located at 5605 CenterPoint Court, Gurnee, IL 60031.
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Debtors’ headquarters is located at 5605 CenterPoint Court, Gurnee, IL 60031.
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  Unless otherwise defined in this Order, all capitalized terms shall have the meanings provided in the Sale Motion
and/or the applicable Purchase Agreement.
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and/or the applicable Purchase Agreement.



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Motion by its Order Granting Trustee’s Motion for Entry of an Order (A) Approving Bidding

Procedures in Connection With Sale of Substantially All of the Estates’ Assets, (B) Scheduling an

Auction and Hearing to Consider the Proposed Sale and (C) Approving the Form and Manner of

Notice Thereof dated April 28, 2023 (the Purchase Agreements”), attached hereto as Exhibits “A”

through __ to the Schedule of Purchase Agreements attached to this Order; (b) authority to sell the

Purchased Assets as set forth in the Purchase Agreements free and clear of Liens (as defined

below), Claims (as defined below), and other interests, (c) authority to assume and assign the

executory contracts and/or unexpired leases identified as Purchased Assets in the Purchase

Agreements (together, the “Assigned Contracts/Leases”) to the purchasers, and (d) related relief;

and this Court, in furtherance of the Sale Motion, having entered an order on __________, 2023

(the “Bidding Procedures Order”)“Bidding Procedures Order”) [D.I. __137] approving, among

other things, the Bidding Procedures and the Notice Procedures; and the . As a consequence of

the entry of the Bidding Procedures Order, numerous parties submitted bids for various “lots” of

the Estates’ assets allowing the Trustee to conduct an auction as provided in the Bidding

Procedures Order. The Trustee having determined, after an extensive marketing process, that the

purchasers identified on the Schedule of Purchase Agreements and in the Purchase Agreements

(the “Purchasers”) have and the Auction, that Sentiss AG (together with its assigns, as applicable,

“Sentiss” or “Purchaser”)3 has submitted the highest and best bids for the Purchased Assets (as

defined in the Purchase Agreementsbid for the Purchased Assets (defined as all of the assets and

shares that are the subject of that certain asset and share purchase agreement executed and

delivered by Sentiss on or about May 18, 2023 (“Sentiss ASPA”), together with all ancillary



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 In the event that Sentiss assigns, or purports to assign, any of its rights under the Sentiss Purchase Agreement, Sentiss
shall nonetheless remain fully liable and obligated to the Trustee and the Estates pursuant to full extent of the Sentiss
Purchase Agreement.

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documents executed in conjunction with or as a consequence of the Sentiss ASPA (the “Sentiss

Purchase Agreement”)); and adequate and sufficient notice of the Bidding Procedures, the

Purchase Agreements (including, without limitation, the Sentiss Purchase Agreement), and all

transactions contemplated thereunder and in this Order having been given in the manner directed

by the Court in the Bidding Procedures Order; and all interested parties having been afforded an

opportunity to be heard with respect to the Sale Motion and all relief related thereto; and the Court

having reviewed and considered the Sale Motion and all relief related thereto, and noting that no

objections were filed thereto or, to the extent objections have been filed, any such objections

related to the Sentiss Purchase Agreement and/or the Purchased Assets have been resolved by the

parties or overruled by the Court, and having held a hearing regarding the Sale Motion on

__________as it relates to the Sentiss Purchase Agreement and the Purchased Assets on May 19,

2023 (the “Sale Hearing”); and it appearing that the Court has jurisdiction over this matter; and it

further appearing that the legal and factual bases set forth in the Sale Motion and at the Sale

Hearing establish just cause for the relief granted herein; and after due deliberation; and good and

sufficient cause appearing,

         THE COURT HEREBY FINDS AND DETERMINES THAT:34

                          Jurisdiction, Final Order, and Statutory Predicates

         A.       This Court has jurisdiction to hear and determine the Sale Motion pursuant to 28

U.S.C. § 1334(a). This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A), (N), and (O).

Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.



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  These findings and conclusions constitute the Court’s findings of fact and conclusions of law pursuant to Bankruptcy
Rule 7052, made applicable to this proceeding pursuant to Bankruptcy Rule 9014. All findings of fact and conclusions
of law announced by the Court at the Sale Hearing in relation to the Sale Motion are hereby incorporated herein to the
extent not inconsistent herewith. To the extent that any of the following findings of fact constitute conclusions of law,
they are adopted as such. To the extent any of the following conclusions of law constitute findings of fact, they are
adopted as such.

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         B.       The statutory predicates for the relief requested in the Sale Motion are sections

105(a), 363, and 365 of the Bankruptcy Code, and Bankruptcy Rules 2002(a)(2), 6004, 6006, 9007,

and 9014.

         C.       This Order constitutes a final order within the meaning of 28 U.S.C. § 158(a).

Notwithstanding Bankruptcy Rules 6004(h) and 6006(d), and to any extent necessary under

Bankruptcy Rule 9014 and Federal Rule of Civil Procedure 54(b), as made applicable by

Bankruptcy Rule 7054, the Court expressly finds that there is no just reason for delay in the

implementation of this Order and accordingly the stay afforded by Bankruptcy Rules 6004(h) and

6006(d) are hereby waived.

                                       Notice of the Sale and Auction

         D.       Actual written notice of the Sale Motion was provided to the Notice Parties.

         E.       The Trustee’s Notice of Auction and Sale Hearing was reasonably calculated to

provide all interested parties with timely and proper notice of the Sale, Sale Hearing, and Auction.

         F.       As evidenced by the certificates of service previously filed with the Court, proper,

timely, adequate, and sufficient notice of the Sale Motion, Auction, Sale Hearing, Sale, and the

transactions contemplated thereby have been provided in accordance with the Bidding Procedures

Order, sections 105(a), 363, and 365 of the Bankruptcy Code, and Bankruptcy Rules 2002, 6004,

6006, and 9007. The notices described above were good, sufficient, and appropriate under the

circumstances, and no other or further notice of the Sale Motion, Auction, Sale Hearing, Sale, and

assumption and assignment of the Assigned Contracts/Leases is or shall be required and Sale.

         G.       The disclosures made by the Trustee concerning the Sale Motion, Auction,

Purchase Agreements, Sale, assumption and assignment of the Assigned Contracts/Leases, and

Sale Hearing were good, complete, and adequate.



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         H.       A reasonable opportunity to object and be heard with respect to the Sale and the

Sale Motion and the relief requested therein (including the assumption and assignment of the

Assigned Contracts/Leases), has been afforded to all interested persons and entities, including but

not necessarily limited to the Notice Parties.

                                          Good Faith of Purchasers

         I.       The Sentiss Purchase Agreements were Agreement was negotiated, proposed, and

entered into by the Trustee and the Purchasers Purchaser without collusion, in good faith, and from

arm’s-length bargaining positions.

         J.       Neither the Trustee nor the Purchasers have Purchaser has engaged in any conduct

that would cause or permit the Sentiss Purchase Agreements Agreement to be avoided under

section 363(n) of the Bankruptcy Code. Specifically, the Purchasers have Purchaser has not acted

in a collusive manner with any person and the Purchase Prices were Price was not controlled by

any agreements among the biddersPurchaser and any other person.

         K.       The Purchasers are Purchaser is purchasing the Purchased Assets in good faith, and

are good faith buyers within the meaning of section 363(m) of the Bankruptcy Code, and are

therefore entitled to all of the protections afforded by that provision, and otherwise have proceeded

in good faith in all respects in connection with this proceeding in that, inter alia: (a) the Purchasers

Purchaser recognized that the Trustee was free to deal with any other party interested in acquiring

the Purchased Assets; (b) the Purchasers Purchaser complied with the provisions in the Bidding

Procedures Order; (c) the Purchasers Purchaser agreed to subject their its bids to the competitive

bidding procedures set forth in the Bidding Procedures Order; (d) the Purchasers Purchaser in no

way induced or caused the filing of the Bankruptcy Cases; and (e) all payments to be made by the

Purchasers Purchaser in connection with the Sale have been disclosed.



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                                           Highest and Best Offer

          L.      The Trustee conducted an auction process in accordance with, and has otherwise

complied in all respects with, the Bidding Procedures Order. The auction process set forth in the

Bidding Procedures Order afforded a full, fair, and reasonable opportunity for any person or entity

to make a higher or otherwise better offer to purchase the Purchased Assets. The auction process

was duly noticed and conducted in a non-collusive, fair, and good faith manner, and a reasonable

opportunity was given to any interested party to make a higher and better offer for the Purchased

Assets.

          M.      The Sentiss Purchase Agreements constitute Agreement constitutes the highest and

best offers offer for the Purchased Assets, and will provide a greater recovery for the Estates than

would be provided by any other available alternative with respect to the Purchased Assets acquired

by Purchaser. The Trustee’s determination that the Sentiss Purchase Agreements constitute

Agreement constitutes the highest and best offers offer for the Purchased Assets constitutes a valid

and sound exercise of the Trustee’s business judgment.

                                           No Fraudulent Transfer

          N.      The consideration provided by the Purchasers Purchaser pursuant to the Sentiss

Purchase Agreements Agreement (i) is fair and reasonable, (ii) constitutes the highest and/or best

offers for the Purchased Assets, and (iii) constitutes reasonably equivalent value and fair

consideration for the Purchased Assets. No other person or entity or group of entities has offered

to purchase the Purchased Assets for greater economic value to the Estates than the

PurchasersPurchaser. Approval of the Sale Motion and the Purchase Agreementsas it relates to

the Sentiss Purchase Agreement and the Purchased Assets, approval of the Sentiss Purchase




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Agreement, and the consummation of the transactions contemplated thereby are in the best

interests of the Estates.

         O.       The Purchasers are not mere continuations Purchaser is not a mere continuation of

the Debtors or the Estates, and no continuity of enterprise exists between the Purchasers Purchaser

and the Debtors or the Estates. The Purchasers are Purchaser is not holding themselves itself out

to the public as continuations of the Debtors or the Estates. The Purchasers are not successors

Purchaser is not a successor to the Debtors or the Estates, and the Sales do acquisition of the

Purchased Assets by Purchaser does not amount to consolidations, mergers, or de facto mergers

of the Purchasers Purchaser and the Debtors or the Estates.

                                             Validity of Transfer

         P.       The Sentiss Purchase Agreements were Agreement was not entered into for the

purpose of hindering, delaying, or defrauding creditors. Neither the Trustee nor the Purchasers are

Purchaser is entering into the transactions contemplated by the Sentiss Purchase Agreements

Agreement fraudulently for purposes of statutory and/or common law fraudulent conveyance and

fraudulent transfer laws.

         Q.       The Estates are the sole and lawful owners of the Purchased Assets. Subject to

section 363(f) of the Bankruptcy Code, the transfers of the Purchased Assets to the Purchasers

Purchaser will be, as of the Closing Date, legal, valid, and effective transfers of the Purchased

Assets, which transfer will vest the Purchasers Purchaser with all right, title, and interest of the

Estates to the Purchased Assets free and clear of: (a) all liens and encumbrances relating to,

accruing or arising any time prior to the Closing Date (collectively, “Liens”), and (b) all claims (as

that term is defined in section 101(5) of the Bankruptcy Code), liabilities, obligations, demands,

guaranties, options, rights, contractual commitments, restrictions, interests, and matters of any kind



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and nature, whether arising prior to or subsequent to the Petition Date, and whether imposed by

agreement, understanding, law, equity, or otherwise (including, without limitation, rights with

respect to Claims and Liens (i) that purport to give to any party a right of setoff or recoupment

against, or a right or option to effect any forfeiture, modification, profit sharing interest, right of

first refusal, purchase or repurchase right or option, or termination of, any of the Estates’ or the

Purchasers’ interests in the Purchased Assets, or any similar rights, or (ii) in respect of taxes,

restrictions, rights of first refusal, charges, or interests of any kind or nature, if any, including,

without limitation, any restriction of use, voting, transfer, receipt of income, or other exercise of

any attributes of ownership) (collectively, as defined in this clause (b), “Claims”), relating to,

accruing, or arising any time prior to the Closing Date.

                                          Section 363(f) is Satisfied

         R.       The conditions of section 363(f) of the Bankruptcy Code have been satisfied in full;

therefore, the Trustee may sell the Purchased Assets free and clear of any interest in the property.

         S.       The Purchasers Purchaser would not have entered into the Purchase Agreements,

and would not consummate the transactions contemplated thereby, if the sales of the Purchased

Assets to the Purchasers Purchaser were not free and clear of all Liens and Claims and interests.

The Purchasers Purchaser shall not be responsible for any Liens or Claims or interests other than

Liabilities which have been expressly assumed by the Purchasers Purchaser pursuant to the Sentiss

Purchase AgreementsAgreement.

         T.       The Trustee may sell the Purchased Assets free and clear of all Liens and Claims

and interests against the Estates and/or any of the Purchased Assets because, in each case, one or

more of the standards set forth in section 363(f)(1)-(5) of the Bankruptcy Code have been satisfied.

Those holders of Liens or Claims against the Estates or any of the Purchased Assets who did not



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object, or who withdrew their objections, to the Sale or the Sale Motion are deemed to have

consented pursuant to section 363(f)(2) of the Bankruptcy Code with respect to the Sentiss

Purchase Agreement and the Purchased Assets. All other holders of Liens or Claims related to the

Purchased Assets and/or the Sentiss Purchase Agreement are adequately protected by having their

Liens or Claims, if any, in each instance against the Estates or any of the Purchased Assets, attach

to the net cash proceeds of the Sale ultimately attributable to the particular Purchased Assets in

which such creditor alleges a Lien or Claim, in the same order of priority, with the same validity,

force and effect that such Lien or Claim had prior to the Sale, subject to any claims and defenses

that the Estates may possess with respect thereto.


Cure/Adequate Protection

        U.     The assumption and assignment of the Assigned Contracts/Leases is integral to the
Purchase Agreements, is in the best interests of the Estates, and represents a reasonable exercise
of sound and prudent judgment by the Trustee. The Purchasers’ promises to perform the
obligations under the Assigned Contracts/Leases after the Closing Date shall constitute adequate
assurance of future performance within the meaning of section 365(f)(2)(B) of the Bankruptcy
Code.
        V.     Any objections to the assumption and assignment of the Assigned Contracts/Leases
are hereby overruled.
                      Compelling Circumstances for an Immediate Sale

         U.       W.Good and sufficient reasons for approval of the Sentiss Purchase Agreements

Agreement and the Sales Sale of the Purchased Assets have been articulated. The relief requested

in the Sale Motion applicable to the Sentiss Purchase Agreement and the Purchased Assets is in

the best interests of the Estates. The Trustee has demonstrated both (i) good, sufficient, and sound

business purposes and justifications, and (ii) compelling circumstances for the Sales other than in

the ordinary course of business, pursuant to section 363(b) of the Bankruptcy Code in that, among

other things, the immediate consummation of the Sales Sale to the Purchasers Purchaser is




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necessary and appropriate to maximize the value of the Estates. Time is of the essence in

consummating the SalesSale.

         V.       X.Given all of the circumstances of the Bankruptcy Cases and the adequacy and

fair value of the Purchase Price under the Sentiss Purchase AgreementsAgreement, the proposed

Sales Sale of the Purchased Assets to the Purchasers Purchaser constitutes a reasonable and sound

exercise of the Trustee’s business judgment and should be approved.

         W.       Y.The consummation of the Sales and the assumption and assignment of the

Assigned Contracts/Leases Sale is legal, valid, and properly authorized under all applicable

provisions of the Bankruptcy Code, including, without limitation, sections 105(a), 363(b), 363(f),

363(m), and 365, and all of the applicable requirements of such sections have been complied with

in respect of the transaction.

         NOW, THEREFORE, IT IS HEREBY ORDERED:

                                              General Provisions

         1.       The relief requested in the Sale Motion is granted and approved as set forth herein,

and the Sales Sale to Purchaser as contemplated in the Sale Motion are is approved.

         2.       All objections to the Sale Motion or the relief requested therein , as applicable to

the Sentiss Purchase Agreement and the Purchased Assets, that have not been withdrawn, waived,

or settled as announced to the Court at the Sale Hearing or by stipulation filed with the Court, and

all reservations of rights included therein, are hereby denied and overruled with prejudice.

                      Approval of the Sentiss Purchase AgreementsAgreement

         3.       The Sentiss Purchase Agreements Agreement (and all schedules and exhibits

affixed thereto) and all other ancillary documents, all of the terms and conditions thereof, and the

transactions contemplated therein are hereby approved and authorized.



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         4.       Pursuant to sections 363(b) and (f) of the Bankruptcy Code, the Trustee is

authorized and empowered to take any and all actions necessary or appropriate to: (i) consummate

the Sales Sale of the Purchased Assets to the Purchasers Purchaser pursuant to and in accordance

with the terms and conditions of the Sentiss Purchase Agreements Agreement and this Order; (ii)

close the Sales Sale as contemplated in the Sentiss Purchase Agreements Agreement and this

Order; and (iii) execute and deliver, perform under, consummate, implement, and close fully the

Purchase Agreements, including the assumption and assignment to the Purchasers of the Assigned

Contracts/LeasesSentiss Purchase Agreement, together with all additional instruments and

documents that may be reasonably necessary or desirable to implement the Sentiss Purchase

Agreements Agreement and the SalesSale.

         5.       This Order shall be binding in all respects upon the Trustee, the Estates, the

Debtors, all creditors of, and holders of equity interests in, the Debtors, any holders of Liens,

Claims, or other interests in, against, or on all or any portion of the Purchased Assets (whether

known or unknown), the Purchasers Purchaser and all successors and assigns of the

PurchasersPurchaser, and the Purchased Assets. This Order and the Sentiss Purchase Agreements

Agreement shall inure to the benefit of the Estates and their creditors, the PurchasersPurchaser,

and the respective successors and assigns of each of the foregoing.

                                     Transfer of the Purchased Assets

         6.       Pursuant to sections 105(a), 363(b), and 363(f) of the Bankruptcy Code, the Trustee

is authorized to transfer the Purchased Assets to the Purchasers Purchaser on the Closing Date (as

defined in the Sentiss Purchase Agreement) and, upon the Closing under the Sentiss Purchase

AgreementsAgreement, such transfers shall constitute legal, valid, binding, and effective transfers

of such Purchased Assets and shall vest the Purchasers Purchaser with title to the Purchased Assets



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and, upon the Trustee’s receipt of the full Purchase PricesPrice as set forth in the Sentiss Purchase

Agreement, shall be free and clear of all Liens, Claims, and other interests of any kind or nature

whatsoever, including but not limited to, successor or successor-in-interest liability and Claims,

with all such Liens, Claims or other interests to attach to the net cash proceeds ultimately

attributable to the property against or in which such Liens, Claims, or interests are asserted, subject

to the terms thereof, with the same validity, force and effect, and in the same order of priority, that

such Liens, Claims, or interests now have against the Purchased Assets. Upon the Closing, the

Purchasers Purchaser shall take title to and possession of the Purchased Assets free and clear of all

such Liens, Claims and interests.

         7.       In accordance with the written Sharing Agreement by and among the Trustee, the

ABL Agent and TL Agent, as approved by the Court (the “Sharing Agreement”), upon

consummation of the Sale approved hereby, the Trustee is authorized to indefeasibly pay via wire

transfer the allowed ABL Claim Amount and allowed TL Claim Amount (as such terms are

defined in the Sharing Agreement); provided that if one or more additional Sale transactions must

be consummated before full payment of such allowed claims is feasible, then the Trustee is

authorized to make such payments as and when such other transactions are consummated.

         8.       7.All persons and entities in possession of some or all of the Purchased Assets on

the Closing Date are directed to surrender possession of such Purchased Assets to the applicable

Purchaser or its assignee at the Closing. On the Closing Date, each of the Estates’ creditors is

authorized and directed to execute such documents and take all other actions as may be reasonably

necessary to release its Liens, Claims, or other interests in the Purchased Assets, if any, as such

Liens, Claims, or interests may have been recorded or may otherwise exist.




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          9.      8.On the Closing Date, this Order shall be construed and shall constitute for any

and all purposes a full and complete general assignment, conveyance, and transfer of the Estates’

interests in the Purchased Assets. Each and every federal, state, and local governmental agency or

department is hereby directed to accept any and all documents and instruments necessary and

appropriate to consummate the transactions contemplated by the Purchase Agreements.

          10.     9.A certified copy of this Order may be filed with the appropriate clerk and/or

recorded with the recorder to act to cancel any liens Liens and other encumbrances of record.

          11.     10.If any person or entity that has filed statements or other documents or

agreements evidencing Liens on, or interests in, all or any portion of the Purchased Assets shall

not have delivered to the Trustee prior to the Closing, in proper form for filing and executed by

the appropriate parties, termination statements, instruments of satisfaction, releases of liens and

easements, and any other documents necessary for the purpose of documenting the release of all

Liens, Claims, or other interests that the person or entity has or may assert with respect to all or

any portion of the Purchased Assets, the Trustee is hereby authorized and directed, and the

applicable Purchaser is hereby authorized, to execute and file such statements, instruments,

releases, and other documents on behalf of such person or entity with respect to the Purchased

Assets.

          12.     11.This Order is and shall be effective as a determination that, on the Closing Date,

all Liens, Claims, or other interests of any kind or nature whatsoever existing as to the Purchased

Assets prior to the Closing Date, shall have been unconditionally released, discharged, and

terminated, and that the conveyances described herein have been effected. This Order is and shall

be binding upon and govern the acts of all persons and entities, including, without limitation, all

filing agents, filing officers, title agents, title companies, recorders of mortgages, recorders of



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deeds, registrars of deeds, administrative agencies, governmental departments, secretaries of state,

federal, state and local officials, and all other persons and entities who may be required by

operation of law, the duties of their office, or contract, to accept, file, register, or otherwise record

or release any documents or instruments, or who may be required to report or insure any title or

state of title in or to any lease; and each of the foregoing persons and entities is hereby directed to

accept for filing any and all of the documents and instruments necessary and appropriate to

consummate the transactions contemplated by the Purchase Agreements.


Assumption and Assignment of Assigned Contracts/Leases

        12.    The Trustee is hereby authorized and directed in accordance with sections 105(a)
and 365 of the Bankruptcy Code to (a) assume and assign to the applicable Purchasers, effective
upon the Closing of the Sales, the Assigned Contracts/Leases free and clear of all Liens, Claims,
and other interests of any kind or nature whatsoever, and (b) execute and deliver to the applicable
Purchasers such documents or other instruments as the applicable Purchasers reasonably deem
necessary to assign and transfer the Assigned Contracts/Leases.
        13.    The counterparties to the Assigned Contracts/Leases (the “Counterparties”) shall
each look solely to the applicable Purchaser for any amounts payable under the Assigned
Contracts/Leases from and after the Closing Date.
        14.    The Assigned Contracts/Leases are executory contracts under section 365 of the
Bankruptcy Code. The Trustee may assume the Assigned Contracts/Leases in accordance with
section 365 of the Bankruptcy Code. The Trustee may assign the Assigned Contracts/Leases in
accordance with sections 363 and 365 of the Bankruptcy Code. Any provisions in the Assigned
Contracts/Leases that purport to prohibit or condition the assignment of the Assigned
Contracts/Leases or allow the Counterparties to terminate, recapture, impose any penalty, or
modify any term or condition upon the assignment of the Assigned Contracts/Leases, constitute
unenforceable anti-assignment provisions that are void and of no force and effect; all other
requirements and conditions under sections 363 and 365 of the Bankruptcy Code for the
assumption by the Trustee and assignment to the applicable Purchasers of the Assigned
Contracts/Leases have been satisfied. The Assigned Contracts/Leases shall be transferred and
assigned to, and following the closing of the Sale remain in full force and effect for the benefit of,
the applicable Purchasers, notwithstanding any provision in the Assigned Contracts/Leases
(including those of the type described in sections 365(b)(2) and (f) of the Bankruptcy Code) that
purports to prohibit, restrict, or condition such assignment or transfer and, pursuant to section
365(k) of the Bankruptcy Code, the Estates shall be relieved from any further liability with respect
to the Assigned Contracts/Leases after such assignment to and assumption by the Purchasers.
Upon Closing, in accordance with sections 363 and 365 of the Bankruptcy Code, each applicable
Purchaser shall be fully and irrevocably vested in all rights and title to the applicable Assigned
Contracts/Leases.


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        15.    The amounts necessary to cure any defaults existing as of the Closing Date under
the Assigned Contracts/Leases are the amounts listed on the Trustee’s Cure Notice filed and served
in the Bankruptcy Cases, or, if applicable, such other amount(s) upon which the Trustee and any
of the Counterparties may have agreed (the “Cure Amounts”). The applicable Purchasers shall
pay the applicable Cure Amounts at Closing, or at such later time as may be mutually agreed upon
by the applicable Purchaser and any applicable Counterparties. No other defaults exist under the
Assigned Contracts/Leases. The Counterparties waive, release, and are hereby precluded from
asserting any claims against the Debtors, the Trustee or the Estates for any claims arising out of or
in connection with the Assigned Contracts/Leases. The applicable Purchasers shall pay the Cure
Amounts to the Counterparties in full satisfaction of the Counterparties’ claims for defaults that
may have arisen under the Assigned Contracts/Leases.
                        Prohibition of Actions against the Purchasers

         13.      16.Except as otherwise provided in this Order or the Sentiss Purchase

AgreementsAgreement, the Purchasers Purchaser shall not have any liability or other obligation to

the Estates arising under or related to any of the Purchased Assets. Without limiting the generality

of the foregoing, and except as otherwise provided herein or in the Sentiss Purchase Agreements,

the Purchasers shall not be liable for any Claims against the Estates, and the Purchasers shall have

no successor or vicarious liabilities of any kind or character, including, but not limited to, under

any theory of antitrust, environmental, successor or transferee liability, labor law, de facto merger,

mere continuation, or substantial continuity, whether known or unknown as of the Closing Date,

now existing or hereafter arising, whether fixed or contingent, whether asserted or unasserted,

whether legal or equitable, whether liquidated or unliquidated.

         14.      17.All persons and entities holding Liens, Claims, or other interests of any kind or

nature whatsoever against or in all or any portion of the Purchased Assets (whether legal or

equitable, secured or unsecured, matured or unmatured, contingent or non-contingent, liquidated

or unliquidated, senior or subordinate), hereby are forever barred, estopped, and permanently

enjoined from asserting against the PurchasersPurchaser, their its Affiliates, their successors or

assigns, their property, or the Purchased Assets, such persons’ or entities’ Liens, Claims, or

interests in and to the Purchased Assets, including, without limitation, the following actions: (i)


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commencing or continuing in any manner any action or other proceeding against the

PurchasersPurchaser, their its Affiliates, their successors, assets or properties; (ii) enforcing,

attaching, collecting, or recovering in any manner any judgment, award, decree, or order against

the PurchasersPurchaser, their its Affiliates, their successors, assets or properties; (iii) creating,

perfecting, or enforcing any Lien or other Claim against the PurchasersPurchaser, their its

Affiliates, their successors, assets, or properties; (iv) asserting any setoff, right of subrogation, or

recoupment of any kind against any obligation due the PurchasersPurchaser, their its Affiliates, or

their successors; (v) commencing or continuing any action, in any manner or place, that does not

comply or is inconsistent with the provisions of this Order or other orders of the Court, or the

agreements or actions contemplated or taken in respect thereof; or (vi) revoking, terminating or

failing or refusing to transfer or renew any license, permit, or authorization to operate any of the

Purchased Assets or conduct any of the businesses operated with the Purchased Assets. On the

Closing Date, each creditor is authorized and directed to execute such documents and take all other

actions as may be necessary to release Liens, Claims, and other interests in or on the Purchased

Assets, if any, as provided for herein, as such Liens, Claims, or interests may have been recorded

or may otherwise exist.

         15.      18.All persons and entities are hereby forever prohibited and enjoined from taking

any action that would adversely affect or interfere with the ability of the Trustee to sell and transfer

the Purchased Assets to the Purchasers Purchaser in accordance with the terms of the Purchase

Agreements and this Order.

         16.      19.The Purchasers have Purchaser has given substantial consideration under the

Sentiss Purchase Agreements Agreement for the benefit of the Estates. The consideration given by

the Purchasers Purchaser shall constitute valid and valuable consideration for the releases of any



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potential Claims and Liens pursuant to this Order, which releases shall be deemed to have been

given in favor of the Purchasers Purchaser by all holders of Liens against or interests in, or Claims

against, the Estates or any of the Purchased Assets. The consideration provided by the Purchasers

Purchaser for the Purchased Assets under the Sentiss Purchase Agreements Agreement is fair and

reasonable and may not be avoided under section 363(n) of the Bankruptcy Code.

         17.      20.Nothing in this Order or the Sentiss Purchase Agreements Agreement releases,

nullifies, or enjoins the enforcement of any liability to a governmental unit under police and

regulatory statutes or regulations that any entity would be subject to as the owner or operator of

property after the date of entry of this Order. Nothing in this Order or the Sentiss Purchase

Agreements Agreement authorizes the transfer or assignment to any of the Purchasers Purchaser

of any license, permit, registration, authorization, or approval of or with respect to a governmental

unit without the applicable Purchaser’s complying with all applicable legal requirements under

non-bankruptcy law governing such transfers or assignments.

                                               Other Provisions

         18.      21.The transactions contemplated by the Sentiss Purchase Agreements Agreement

are undertaken by the Purchasers Purchaser without collusion and in good faith, and accordingly,

the reversal or modification on appeal of the authorization provided herein to consummate the

Sales Sale shall not affect the validity of the SalesSale, unless such authorization and the Sales are

Sale to Purchaser is duly stayed pending such appeal. The Purchasers are Purchaser is a good faith

buyers buyer and, as such, shall have the full protections of section 363(m) of the Bankruptcy

Code.




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         19.      22.Pursuant to Federal Rules of Bankruptcy Procedure 7062, 9014, 6004(h), and

6006(d), this Order shall be effective immediately upon entry and the Trustee and the Purchasers

Purchaser are authorized to close the Sales Sale immediately upon entry of this Order.

         20.      23.Nothing in this Order or the Sentiss Purchase Agreements Agreement approves

or provides for the transfer to the Purchasers Purchaser of any avoidance claims (whether under

chapter 5 of the Bankruptcy Code or otherwise) of the Estates.

         21.      24.No bulk sales law or any similar law of any state or other jurisdiction applies in

any way to the Sales.

         22.      25.The failure specifically to reference any particular provision of the Sentiss

Purchase Agreements Agreement in this Order shall not diminish or impair the effectiveness of

such provision, it being the intent of the Court that the Sentiss Purchase Agreements Agreement

and documents executed in connection therewith or contemplated therein are authorized and

approved in their entirety; provided, however, that this Order shall govern if any inconsistency

exists between the Sentiss Purchase Agreements Agreement (including all ancillary documents

executed in connection therewith) and this Order. Likewise, all of the provisions of this Order are

nonseverable and mutually dependent.

         23.      26.The Sentiss Purchase Agreements Agreement and any related agreements,

documents, or other instruments may be modified, amended, or supplemented by the parties

thereto and in accordance with the terms thereof, without further order of the Court, provided that

any such modification, amendment, or supplement does not have a material adverse effect on the

Estates.

         24.      27.The Court shall retain jurisdiction to, among other things, interpret, implement,

and enforce the terms and provisions of this Order and the Sentiss Purchase



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AgreementsAgreement, all amendments thereto and any waivers and consents thereunder and each

of the agreements executed in connection therewith to which the Trustee is party or which has

been assigned by the Trustee to the PurchasersPurchaser, and to adjudicate, if necessary, any and

all disputes concerning or relating in any way to the SalesSale, including, but not limited to,

retaining jurisdiction to: (a) compel delivery of the Purchased Assets to the PurchasersPurchaser;

(b) interpret, implement, and enforce the provisions of this Order; (c) protect the Purchasers against

any alleged Liens, Claims, or other interests in or against the Purchased Assets of any kind or

nature whatsoever; and (d) enter any orders under sections 363 and/or 365 of the Bankruptcy Code

with respect to the Assigned Contracts/Leases.

         25.      28.All time periods set forth in this Order shall be calculated in accordance with

Bankruptcy Rule 9006(a).

         26.      29.To the extent that this Order is inconsistent with any prior order or pleading with

respect to the Sale Motion, the terms of this Order shall govern.

                                    Schedule of Purchase Agreements




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